          Case 1:22-cr-00360-CKK Document 1 Filed 10/31/22 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 22-MJ-079
                                             :
                 v.                          :
                                             :       21 U.S.C. § 841(a)(1) and § 841(b)(1)(C)
                                             :       (Unlawful Distribution of a Mixture and
                                             :       Substance Containing a Detectable
DERRICK BURROUGHS,                           :       Amount of Cocaine Base)
                                             :       21 U.S.C. § 841(a)(1) and § 841(b)(1)(C)
                      Defendant.             :       (Unlawful Distribution of a Mixture and
                                             :       Substance Containing a Detectable
                                             :       Amount of Fentanyl)
                                             :       21 U.S.C. § 841(a)(1) and § 841(b)(1)(C)
                                             :       (Unlawful Distribution of a Mixture and
                                             :       Substance Containing a Detectable
                                             :       Amount of PCP)
                                             :       21 U.S.C. § 841(a)(1) and § 841(b)(1)(D)
                                             :       (Unlawful Distribution of a Mixture and
                                             :       Substance Containing a Detectable
                                             :       Amount of Marijuana)
                                             :       18 U.S.C. §§ 924(c)(1)(A)(i)
                                             :       (Using and Carrying a Firearm During
                                             :       and Relation to, and Possessing a Firearm
                                             :       in Furtherance of, a Drug Trafficking :
                                                     Offense)


                                    INFORMATION

The United States Attorney charges that:

                                           COUNT ONE

       On or about April 7, 2022, within the District of Columbia, DERRICK BURROUGHS,

did unlawfully, knowingly, and intentionally possess with intent to distribute a mixture and

substance containing a detectable amount of cocaine base, a Schedule II controlled substance.

       (Unlawful Possession with Intent to Distribute a Mixture and Substance
       Containing a Detectable Amount of Cocaine Base, in violation of Title 21,
       United States Code, Sections 841(a)(1) and 841(b)(1)(C))



                                                 1
          Case 1:22-cr-00360-CKK Document 1 Filed 10/31/22 Page 2 of 4




                                        COUNT TWO

       On or about April 7, 2022, within the District of Columbia, DERRICK BURROUGHS,

did unlawfully, knowingly, and intentionally possess with intent to distribute a mixture and

substance containing a detectable amount of fentanyl, a Schedule II controlled substance.

       (Unlawful Possession with Intent to Distribute a Mixture and Substance
       Containing a Detectable Amount of Fentanyl, in violation of Title 21, United
       States Code, Sections 841(a)(1) and 841(b)(1)(C))

                                       COUNT THREE

       On or about April 7, 2022, within the District of Columbia, DERRICK BURROUGHS,

did unlawfully, knowingly, and intentionally possess with intent to distribute a mixture and

substance containing a detectable amount of PCP, a Schedule II controlled substance.

       (Unlawful Possession with Intent to Distribute a Mixture and Substance
       Containing a Detectable Amount of PCP, in violation of Title 21, United
       States Code, Sections 841(a)(1) and 841(b)(1)(C))

                                        COUNT FOUR

       On or about April 7, 2022, within the District of Columbia, DERRICK BURROUGHS,

did unlawfully, knowingly, and intentionally possess with intent to distribute a mixture and

substance containing a detectable amount of marijuana, a Schedule I controlled substance.

       (Unlawful Possession with Intent to Distribute a Mixture and Substance
       Containing a Detectable Amount of Marijuana, in violation of Title 21,
       United States Code, Sections 841(a)(1) and 841(b)(1)(D))




                                                2
            Case 1:22-cr-00360-CKK Document 1 Filed 10/31/22 Page 3 of 4




                                          COUNT FIVE

       On or about April 7, 2022, within the District of Columbia, DERRICK BURROUGHS,

did unlawfully and knowingly use and carry during and in relation to, and possess in furtherance

of, a drug trafficking offense, for which he may be prosecuted in a court of the United States, that

is, Counts One, Two, Three, and Four of this Information which are incorporated herein, a firearm,

that is, a SAR Model SAR9, 9mm caliber semi-automatic handgun.

       (Using and Carrying a Firearm During and in Relation to, and Possessing a
       Firearm in Furtherance of, a Drug Trafficking Offense, in violation of Title
       18, United States Code, Section 924(c)(1)(A)(i))

                                FORFEITURE ALLEGATION

       1.      Upon conviction of the offense alleged in Counts One, Two, Three, Four, and/or

Five of this Information, the defendant shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any firearms

and ammunition involved in or used in the knowing commission of these offenses, including but

not limited to a SAR Model SAR9, 9mm caliber semi-automatic handgun and 9mm caliber

ammunition.

       2.      Upon conviction of either of the offenses alleged in Counts One, Two, Three, and

Four of this Information, the defendant shall forfeit to the United States, pursuant to Title 21,

United States Code, Section 853(a), any property constituting, or derived from, any proceeds

obtained, directly or indirectly, as the result of these offenses; and any property used, or intended

to be used, in any manner or part, to commit, or to facilitate the commission of, these offenses.

The United States will also seek a forfeiture money judgment against the defendant equal to the

value of any property constituting, or derived from, any proceeds obtained, directly or indirectly,

as the result of these offenses; and any property used, or intended to be used, in any manner or

part, to commit, or to facilitate the commission of, these offenses.

                                                 3
             Case 1:22-cr-00360-CKK Document 1 Filed 10/31/22 Page 4 of 4




       3.       If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

       (a)      cannot be located upon the exercise of due diligence;

       (b)      has been transferred or sold to, or deposited with, a third party;

       (c)      has been placed beyond the jurisdiction of the Court;

       (d)      has been substantially diminished in value; or

       (e)      has been commingled with other property that cannot be subdivided without

                difficulty;




                                                        Respectfully submitted,


                                                        __________________________
                                                        MATTHEW M. GRAVES
                                                        United States Attorney
                                                        D.C. Bar No. 481052


                                                        /s/ Thomas G. Strong_________
                                                        Thomas G. Strong
                                                        Assistant United States Attorney
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